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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION
Matthew R. Hamilton, et al.,          :
                                          Case No. 2:17-cv-707
            Plaintiff(s),             :
                                          Chief Judge Edmund A. Sargus, Jr.
            v.                        :
                                          Magistrate Judge Elizabeth P. Deavers
Carrington Mortgage Services,         :
                                          Mediator Robert M. Kincaid
            Defendant(s).             :


                       NOTICE OF SETTLEMENT CONFERENCE

       Under the provisions of General Order 13-01, this case is hereby noticed for Settlement
Week Mediation DECEMBER 14, 2017 at 10:30 A.M..
       Please report to United States District Court, 85 Marconi Blvd., Room 121, Columbus,
Ohio, 43215.
       The rules for mediation are:
       1.      Each party and their trial attorney must attend.
       2.      No later than DECEMBER 1, 2017 plaintiff must serve a fully
               documented written settlement demand on the mediator and
               counsel for all other parties.
       3.      No later than DECEMBER 8, 2017 defendant must make a reasoned
               written response served on all counsel and the mediator.
NOTE:          The mediator should notify the court if the plaintiff and/or defendant fail to
               comply with this order.
       4.      All settlement discussions shall be subject to Federal
               Evidence Rule 408.

       CANCELLATION. If, after exchanging offers and demands, all counsel agree that
the case should not be mediated during the above Settlement Week, they must file a motion
to request cancellation. The motion must be served on the client.


Date:November 20, 2017                             s/ Sherry Nichols
                                                   Sherry Nichols/Courtroom Deputy
                                                   (614)-719-3461
                                                    sherry_nichols@ohsd.uscourts.gov
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Matthew R. Hamilton, et al.,                  :
                                                   Case No. 2:17-cv-707
              Plaintiff(s),                   :
                                                   Chief Judge Edmund A. Sargus, Jr.
              v.                              :
                                                   Magistrate Judge Elizabeth P. Deavers
Carrington Mortgage Services,                 :
                                                   Mediator Robert M. Kincaid
              Defendant(s).                   :


                     MEDIATOR'S SETTLEMENT WEEK REPORT
Please return this report to Sherry Nichols, Room 208, following the conference.
I. RESULTS OF CONFERENCE.
       1.     ___ The case is settled. Dismissal entry to be filed
                      by ________________.
       2.     ___ Negotiations have not reached impasse, but the case requires:
              (a)     ___ additional negotiations between counsel.
                         Counsel will file status report by _____________________.
              (b) ___ additional conference with
                              ___    Mediator
                              ___    Magistrate Judge
                              ___    District Judge
       3.     ___ Negotiations are at impasse. The case
                              ___    requires additional discovery
                              ___    requires resolution of a dispositive motion
                              ___    is ready for trial
                              ___    (other) __________________________
II. COMPLIANCE WITH COURT ORDER.
       1.     Were all persons with settlement authority present?
              ____ Yes               ____ No (please explain)
       2.     Were all trial counsel present?
              ____ Yes               ____ No (please explain)
       3.     Were offers/demands exchanged prior to the conference?
              ____ Yes               ____ No (please explain)

III.   COMMENTS: (Use back for comments)- Do not disclose substance of discussions
       or other confidential information
